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                  EXHIBIT B
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             CarvT(mStutmanlaw .com                                            superior COfULOS Angeles
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           2 LAW OFFICES OF ROBERT A. STUTMAN, P.C.
               1260 Corona Pointe Court, Suite 306                                   MAY 17 2021
           3   Corona, California 92879
               Telephone: (951) 387-4700 I Facsimile: (951) 963-1298

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           5 Attorneys for Plaintiffs
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           8                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

           9                                   COUNTY OF LOS ANGELES

          10

          11   CALIFORNIA AUTOMOBILE INSURANCE
               COMPANY; MERCURY CASUALTY
                                                               CASE NO.    21 ST CV 18 5 15
          12   COMPANY; GUIDEONE MUTUAL                        COMPLAINT FOR PROPERTY
               INSURANCE COMPANY; GUIDEONE                     DAMAGE
          13   SPECIALTY MUTUAL INSURANCE
               COMPANY; FLORISTS' MUTUAL
          14   INSURANCE COMPANY; AND
               UNIVERSAL NORTH AMERICA
          15   INSURANCE COMPANY

          16                 P laintiffs ,

          17          vs.

          18 SOUTHERN CALIFORNIA EDISON
             COMPANY, EDI SON INTERNATIONAL,
          19 and DOES 1 through 50, inclusive,

          20                 Defendants.

          21

          22
                      COME NOW Plaintiffs CALIFORNIA AUTOMOBILE INSURAN CE COMPANY;
          23
               MERCURY CASUALTY COMPANY; GUI DEONE MUTUAL INSURANCE COMPANY;
          24
               GUIDEONE SPECIALTY MUTUAL INSURANCE COMPANY; FLORISTS' MUTUAL
          25
               INSURANCE COMPANY; AND UNIVERSAL NORTH AMERICA INSURANCE COMPANY,
          26
               by and through their attorneys, LAW OFFICES OF ROBERT A. STUTMAN, P.C., and for their
          27
               Complaint against Defendants SOUTHERN CALIFORNIA EDISON COMPANY, EDISON
          28


                                             COMPLAINT FOR PROPERTY DAMAGE
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   1 INTERNATIONAL, and DOES 1 through 50, inclusive, allege that at all pertinent times herein

   2 upon information and belief as follows:

   3          1.      Plaintiffs CALIFORNIA AUTOMOBILE INSURANCE COMPANY; MERCURY

   4 CASUALTY COMPANY; GUIDEONE MUTUAL INSURANCE COMPANY; GUIDEONE

   5 SPECIALTY MUTUAL INSURANCE COMPANY; FLORISTS' MUTUAL INSURANCE

   6 COMPANY; AND UNIVERSAL NORTH AMERICA INSURANCE COMPANY, (hereinafter

   7 "PLAINTIFFS") were and are insurance carriers licensed to conduct and transact business in the

   8 State of California as insurance companies.

   9          2.      At all relevant times, the individual insureds listed on Exhibit 1 (hereinafter

  10 collectively referred to as the "Insureds") either owned or rented real and personal property located

  11 at the corresponding addresses identified on Exhibit 1 and were insured by PLAINTIFFS.

  12          3.      PLAINTIFFS and each of them paid for damages caused to their policyholders under

  13 various insurance policies, including commercial and property insurance policies, stemming from

  14 the destruction and/or damage to property caused by a fire that began on December 5, 2017 in Kagel

  15 Canyon four miles east of Sylmar in Los Angeles County, California on or around electrical

  16 distribution equipment owned by Edison International and Southern California Edison (collectively

  17 "SCE" or "Defendants"). This fire was dubbed the "Creek Fire" by the US Forest Service.

  18          4.      This action seeks recovery as against Defendants and each of them of the amounts

  19 paid, or to be paid, by PLAINTIFFS as a result of this event.

  20                                I.       JURISDICTION AND VENUE

  21          5.      This Court has jurisdiction over this matter pursuant to Code of Civil Procedure

  22 §§395(a) and 410.10 because Edison International and Southern California Edison have their home

  23 offices in Los Angeles County, and/or each of the Defendants do significant business in Los Angeles

  24 County so as to render the exercise of jurisdiction over Defendants by California courts consistent

  25 with traditional notions of fair play and substantial justice.

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                                         COMPLAINT FOR PROPERTY DAMAGE
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   1          6.     The venue is proper in this county pursuant to California Code of Civil Procedure

   2 §395.5 because, at all times relevant, Defendants each have had their principal place of business in

   3 the County of Los Angeles. The amount in controversy exceeds the jurisdictional minimum of this

   4 Court.

   5                                        II.     THE PARTIES

   6          A.     SUBROGATION PLAINTIFFS

   7          7.     PLAINTIFFS in this case were and are insurers authorized to carry on the business

   8 of insurance within the State of California as an insurance company. PLAINTIFFS' Insureds owned

   9 property that suffered damages by the Creek fire. As a result of the Creek Fire, PLAINTIFFS have

  10 paid and/or will pay money to their respective insured(s) under their policies of insurance for losses

  11 caused by the Creek Fire. Such payments include, but are not limited to, repair of real and personal

  12 property, replacement of real and personal property, additional living expenses, loss of use and

  13 business interruption. The money was paid to their insured(s) pursuant to various homeowners,

  14 automobile, business/commercial and property insurance policies. This action seeks recovery of

  15 amounts paid, and to be paid, by PLAINTIFFS to their insured(s). PLAINTIFFS who are obligated

  16 to make payments or have made payments to their insured(s) are equitably subrogated to the rights

  17 of their insured(s), "stand in their shoes," and are entitled to bring this claim for payments made or

  18 to be made. PLAINTIFFS investigated, adjusted and paid, and may in the future pay, said damage,

  19 injury and loss, consistent with its policies of insurance and its obligations under law, and said

  20 payments were not voluntary. PLAINTIFFS' damages are in a liquidated sum; the amount paid to

  21 their insureds. PLAINTIFFS' insureds have an existing, assignable cause of action against SCE,

  22 which the insureds could have asserted for their own benefit had they not been compensated for

  23 their losses by PLAINTIFFS. As such, PLAINTIFFS have suffered damages caused by an act or

  24 omission of DEFENDANTS, and PLAINTIFFS have equitable and/or legal subrogation rights

  25 against DEFENDANTS herein, to the extent of payments made. Justice requires that the loss be

  26 entirely shifted from PLAINTIFFS to DEFENDANTS, whose equitable position is inferior to that

  27 of PLAINTIFFS. The actual insureds' names, addresses, claim numbers and the amounts paid have

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                                     COMPLAINT FOR PROPERTY DAMAGE
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   1 been intentionally omitted pending a stipulation between the parties addressing the privacy rights of

   2 PLAINTIFFS' insureds. The insureds owned or leased property in and around Los Angeles County.

   3          B.     DEFENDANTS

   4          8.     At all times herein mentioned, Defendants EDISON INTERNATIONAL and SCE

   5 were corporations authorized to do business and doing business in the State of California with their

   6 principal place of business in the county of Los Angeles, State of California. Defendant EDISON

   7 INTERNATIONAL is an energy-based holding company headquartered in Rosemead, California.

   8 It is the parent company of Defendant SCE. EDISON INTERNATIONAL and SCE provide public

   9 utility services, including the generation of electricity and the transmission and distribution of

  10 electricity and natural gas to millions of customers. At all relevant times, SCE did and does own,

  11 operate, and maintain certain electrical transmission and distribution lines and is and was in the

  12 business of providing electricity in southern California cities, including Los Angeles County where

  13 PLAINTIFFS' insureds maintained their real, business and personal properties. SCE is and was by

  14 law vested with authority to exercise in the name of the aforesaid entity the power to acquire

  15 property by eminent domain pursuant to the provisions of Public Utility Code § 612 and Code of

  16 Civil Procedure §§ 1230.010, 1240.110, and 1240.120, et seq.

  17          9.     PLAINTIFFS allege that EDISON INTERNATIONAL and SCE are jointly and

  18 severally liable for each other's wrongful acts and/or omissions as hereafter alleged.

  19          C.     DOE DEFENDANTS

  20          10.    Defendant DOES One (1) through Fifty (50), inclusive, are unknown to

  21 PLAINTIFFS who therefore sue said Defendants by such fictitious names. PLAINTIFFS are

  22 informed and believe and thereon allege that each of the Defendants designated herein as DOE is

  23 legally responsible in some manner for the events and happenings referred to herein. PLAINTIFFS

  24 will ask leave to amend this Complaint when the true names and capacities of Defendants sued as

  25 DOES One (1) through Fifty (50) are ascertained.

  26          11.    PLAINTIFFS are informed and believe and thereon allege that at all pertinent times,

  27 Defendants were the agents or employees of their co-Defendants and in doing the things alleged in

  28 this complaint were acting within the course and scope of that agency and employment.
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                                     COMPLAINT FOR PROPERTY DAMAGE
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   1                                 GENERAL ALLEGATIONS

   2          12.    This lawsuit is a subrogation action seeking redress for property damage, loss of use

   3 and other related losses resulting from the Creek Fire of December 5, 2017.

   4          13.     On December 5, 2017 and including the days immediately prior and following, most

   5 of Southern California was under red flag warnings due to powerful Santa Ana winds and low

   6 humidity levels dignifying a high risk of wildfires. Electrical Utilities such as SCE should have been

   7 under a heightened sense of alert and due care to avoid causing a wildfire.

   8          14.     PLAINTIFFS are informed and believe, that in the late afternoon of December 5,

   9 2017, four miles east of Sylmar, California, within Kagel Canyon in Los Angeles County, an

  10 electrical fault occurred at a power transmission line and/or attachments thereto which was part of

  11 an electrical transmission system (hereinafter the “ETS”) owned, operated, maintained and

  12 controlled by SCE and DOES 1 through 50, and each of them.

  13          15.     The electrical transmission system was monitored by SCE employees.

  14          16.     Upon information and belief, the electrical fault resulted in arcing which caused

  15 nearby trees, brush, and vegetation to ignite, resulting in the Creek Fire.

  16          17.     As a result of the Creek Fire, residents, including the PLAINTIFFS' Insureds, were

  17 forced to evacuate their homes.

  18          18.     The Creek Fire ultimately destroyed more than 125 structures and damaged more

  19 than 80 structures, in Los Angeles County, causing damages to PLAINTIFFS' Insureds' properties

  20 and to PLAINTIFFS in an amount in excess of the minimum jurisdiction of this court.

  21          19.     At all relevant times, the electrical transmission system owned, designed,

  22 constructed, installed, inspected, maintained and/or controlled by SCE and DOES 1 through 50, and

  23 each of them.

  24          20.     At all relevant times, the ETS was owned, designed, constructed, installed, inspected,

  25 maintained and/or controlled for the purpose of distributing electricity to the public at large and the

  26 customers of SCE and DOES 1 through 50, and each of them.

  27          21.     At all relevant times, the ETS was in a dangerous condition, posing a significant risk

  28 of electrical failure, fire and property damage to surrounding property and communities.
                                                        5
                                      COMPLAINT FOR PROPERTY DAMAGE
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   1          22.    At all relevant times, SCE and DOES 1 through 50, and each of them, were aware

   2 or should have been aware that the ETS was in a dangerous condition and posed a risk of failure,

   3 fire and property damage.

   4          23.    PLAINTIFFS paid their Insureds, under the terms of their respective policies of

   5 insurance, for damages caused by the Creek Fire. As such, PLAINTIFFS have become equitably

   6 and legally subrogated to the claims, rights, and demands of each of their Insureds against all

   7 Defendants herein to the extent of the payments made, and to be made.

   8          24.     On or about December, 2020 Plaintiffs entered into a tolling agreement with SCE

   9 whereby the time in which Plaintiffs may assert its claims against SCE arising out of the Creek Fire

  10 was extended to and including February 3, 2021.

  11          25.     On or about January, 2021 Plaintiffs entered into a first amended tolling agreement

  12 with SCE whereby the time in which Plaintiffs may assert its claims against SCE arising out of the

  13 Creek Fire was extended to and including April 4, 2021.

  14          26.   On or about April 2021 Plaintiffs entered into a second amended tolling agreement

  15 with SCE whereby the time in which Plaintiffs may assert its claims against SCE arising out of the

  16 Creek Fire was extended to and including April 16, 2021.

  17          27.   On or about April 2021 Plaintiffs entered into a third amended tolling agreement with

  18 SCE whereby the time in which Plaintiffs may assert its claims against SCE arising out of the Creek

  19 Fire was extended to and including May 17, 2021.

  20                                        FIRST CAUSE OF ACTION

  21                                (Inverse Condemnation against Defendants
  22                                  SCE and DOES 1 through 50, inclusive)
  23          28.    PLAINTIFFS incorporate by reference each and every prior allegation of this
  24 Complaint as though fully set forth herein.

  25          29.   Article 1, Section 19 of the California Constitution states:
  26                 Private property may be taken or damaged for public use only when just
                     compensation, ascertained by a jury unless waived, has first been paid to, or into
  27                 court for, the owner. The Legislature may provide for possession by the condemnor
                     following commencement of eminent domain proceedings upon deposit in court and
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                                     COMPLAINT FOR PROPERTY DAMAGE
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   1                 prompt release to the owner of money determined by the court to be the probable
                     amount of just compensation.
   2

   3          30. At all relevant times, Defendants SCE and DOES 1 through 50, and each of them, were

   4 and are public utilities supplying electricity for public use in the State of California, including the

   5 area of Los Angeles County, California.

   6          31. At all relevant times, Defendants SCE and DOES 1 through 50, and each of them,

   7 owned, controlled, maintained, operated, inspected, repaired and were responsible for the ETS.

   8          32.    At all relevant times, the ETS was a public improvement designed, constructed and

   9 maintained for the purpose of transmitting electric power to the public.

  10          33. The ETS, as deliberately designed, constructed and maintained by Defendants SCE and

  11 DOES 1 through 50, and each of them, caused and/or permitted the occurrence of an electrical failure

  12 that ignited the Creek Fire.

  13          34. The foregoing occurrence directly and legally resulted in a "taking" of property in

  14 accordance with PLAINTIFFS' damages as alleged herein.

  15          35. The "taking" of property as alleged         herein permanently deprived PLAINTIFFS'

  16 Insureds of the use and enjoyment of their property and other damages. As a direct result of the

  17 "taking" of the property, PLAINTIFFS paid their Insureds for damages that exceed the jurisdictional

  18 minimum of this court and have not received just compensation.

  19                                        SECOND CAUSE OF ACTION

  20                        (Negligence Against SCE and Does 1 through 50, Inclusive)

  21          36.    PLAINTIFFS incorporate by reference each and every prior allegation of this
  22 Complaint as though fully set forth herein.

  23          37.    SCE and DOES 1 through 50, as owners and/or controllers of the ETS, were under a
  24 duty codified in California Civil Code §1714(a), which states, in pertinent part:

  25                 Everyone is responsible, not only for the result of his or her willful acts, but
                     also for an injury occasioned to another by his or her want of ordinary care
  26                 or skill in the management of his or her property or person, except so far as
                     the latter has, willfully or by want of ordinary care, brought the injury upon
  27                 himself or herself.
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                                                         7
                                      COMPLAINT FOR PROPERTY DAMAGE
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   1          38.    Specifically, SCE and DOES 1 through 50, and each of them, were under duty to

   2 maintain the ETS in their possession in a reasonably safe condition.

   3          39.    At all relevant times, SCE and DOES 1 through 50, operated, controlled, and/or

   4 maintained the ETS.

   5          40.    At all times relevant, SCE and DOES 1 through 50, inclusive, and each of them, were

   6 required to own, design, control, possess, operate, install, construct, inspect, maintain, and manage

   7 devices, poles, conduits apparatus, parts, and equipment in accordance with all standards, laws, rules,

   8 regulations, and orders pertaining thereto.

   9          41.    SCE and DOES 1 through 50, and each of them, in connection with the production,

  10 sale, transmission, and distribution of electricity, had a non-delegable duty, commensurate with and

  11 proportionate to the danger of transmitting power, to own, design, control, possess, construct,

  12 operate, install, inspect, maintain, and/or manage the ETS in a proper, reasonable, careful, and safe

  13 manner, including the real estate, rights-of-way, easements, fixtures, conductors, devices, poles,

  14 conduits, apparatus, parts, and equipment around, on, or near the subject ETS.

  15          42.    SCE and DOES 1 through 50, inclusive, and each of them, had a non-delegable duty

  16 to properly, reasonably, carefully, and safely maintain and inspect the ETS, so that they operate

  17 without any electrical faults, sparking, arcing, or other electrical failures. Said DEFENDANTS have

  18 a non-delegable duty, to properly, reasonably, carefully, and safely maintain any real estate, rights-

  19 of-way, and/or easements near their ETS; and those duties included, but were not limited to keeping

  20 vegetation clear of the ETS and keeping the ETS free from trees, branches, twigs, bushes, and

  21 growth.

  22          43.    DEFENDANTS, and DOES 1 through 50, inclusive, and each of them, failed and

  23 neglected to perform and breached the foregoing duties in one or more of the following ways:

  24          (a)    Failing to conduct reasonably prompt, proper, and frequent inspections of the ETS,

  25                 wires, and associated equipment;

  26          (b)    Failing to maintain the ETS, wires, and any and all associated equipment in a manner

  27                 that avoids igniting fire during long, dry seasons by allowing those lines to withstand

  28                 foreseeable conditions to avoid igniting fires;
                                                        8
                                     COMPLAINT FOR PROPERTY DAMAGE
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   1        (c)   Failing to maintain and monitor the ETS, wires, and any and all associated equipment

   2              in fire prone areas to avoid igniting a fire and spreading fires;

   3        (d)   Failing to keep the ETS, wires, and any and all associated equipment in a safe

   4              condition at all times to prevent fires;

   5        (e)   Failing to otherwise maintain and monitor the ETS, wires, and any and all associated

   6              equipment within this foreseeably fire-prone area to avoid igniting fires such as the

   7              Creek Fire;

   8        (f)   Failing to conduct reasonably prompt, proper, and frequent inspections of the ETS,

   9              wires, and associated, equipment;

  10        (g)   Failing to design, construct, monitor, and maintain the ETS in a manner that avoids

  11              igniting fire during long, dry seasons by allowing those lines to withstand foreseeable

  12              conditions;

  13        (h)   Failing to design, construct, operate, and maintain the ETS and associated equipment

  14              to withstand foreseeable conditions to avoid igniting fires;

  15        (i)   Failing to maintain and monitor the ETS and associated equipment in fire-prone areas

  16              to avoid igniting fire and spreading fires;

  17        (j)   Failing to install the equipment necessary, and/or to inspect and repair the equipment

  18              installed, to prevent the ETS from improperly sagging, operating, or making contact

  19              with trees or other vegetation;

  20        (k)   Failing to keep the ETS and associated equipment in a safe condition at all times to

  21              prevent fires;

  22        (l)   Failing to de-energize the ETS before the Creek Fire's ignition;

  23        (m)   Failing to properly train and supervise employees and agents responsible for

  24              maintenance and inspection of the ETS; and

  25        (n)   Failing to implement and follow regulation and reasonably prudent practices to avoid

  26              fire ignition.

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                                   COMPLAINT FOR PROPERTY DAMAGE
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   1          44.     The violation of the applicable standard of care by the Defendants SCE and DOES 1

   2 through 50, and each of them, as alleged herein, proximately and substantially caused the Creek Fire

   3 resulting in destruction, damage, and injury to the property of PLAINTIFFS' insureds.

   4           45.    The failure of SCE and DOES l through 50, and each of them, to comply with their

   5 duty of due care proximately caused the Creek Fire and the resulting damage to PLAINTIFFS'

   6 insureds. DEFENDANTS are liable to PLAINTIFFS for all losses, damages and injury caused by

   7 and resulting from DEFENDANTS' violations of the requisite standards of care.

   8          46.     As a direct and proximate result of the aforesaid conduct, the Creek Fire occurred

   9 and spread to PLAINTIFFS' Insureds' properties, hereby causing loss and damage as alleged, the

  10 exact amount of which will be proven at the time of trial.

  11                                        THIRD CAUSE OF ACTION

  12                  (Nuisance Pursuant to California Civil Code §3479 against Defendants
  13                                   SCE and DOES 1 through 50, inclusive)
  14          41.     PLAINTIFFS incorporate by reference each and every prior allegation of this
  15 Complaint as though fully set forth herein.

  16          42.    California Civil Code § 3479 states, in pertinent parts:
  17                  Anything which is . . . an obstruction to the free use of property, so as to interfere
                      with the comfortable enjoyment of life or property, or unlawfully obstructs the free
  18                  passage or use, in the customary manner, of any navigable lake, or river, bay, stream,
                      canal, or basin, or any public park, square, street, or highway, is a nuisance.
  19

  20          43.     At all material times, PLAINTIFFS' Insureds owned, leased, occupied, or controlled
  21 real property and personal property damaged by the Creek Fire.

  22          44.     The actions, conduct, omissions, negligence, trespass and failure to act of Defendants
  23 SCE and DOES 1 through 50 resulted in the Creek Fire. The Creek Fire was an obstruction to the

  24 free use of the Insureds' property and invaded the Insureds' right to use of their property.

  25          45.     The Creek Fire interfered with the free use and enjoyment of the Insureds' property,
  26 causing the Insureds unreasonable harm and substantial actual damages constituting a nuisance,

  27 pursuant to California Civil Code § 3479.

  28 ///
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                                      COMPLAINT FOR PROPERTY DAMAGE
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   1         46.     PLAINTIFFS' Insureds did not consent to the nuisance created by the actions,

   2 conduct, omissions, negligence, trespass and failure to act of Defendants SCE and DOES 1 through

   3 50, and any ordinary person would be reasonably annoyed or disturbed by said nuisance.

   4         47.     The nuisance created by the actions, conduct, omissions, negligence, trespass and

   5 failure to act of Defendants SCE and DOES 1 through 50 was a substantial factor in causing

   6 PLAINTIFFS’ harm.

   7         48.     As a direct and proximate result of said nuisance, PLAINTIFFS suffered damages

   8 that exceed the jurisdictional minimum of this court.

   9         WHEREFORE, PLAINTIFFS pray for judgment against Defendants SOUTHERN

  10 CALIFORNIA EDISON COMPANY and EDISON INTERNATIONAL, their respective agents

  11 and employees, and DOES 1 through 50, and each of them, as set forth below:

  12         1.      For monetary damages in an amount to be proven at trial, which exceed the

  13                 jurisdictional minimum of this court;

  14         2.      For prejudgment interest in accordance with California Civil Code §3287 and the

  15                 California Constitution;

  16         3.      For attorneys' fees and cost of suit to the extent allowed by California law,

  17                 including CCP §1036;

  18         3.     For cost of suit; and

  19         4.     For such other relief as the Court deems just and proper.

  20

  21 DATED: May 17, 2021                         LAW OFFICES OF ROBERT A. STUTMAN, P.C.

  22

  23
                                                 By:
  24                                                   Timothy E. Cary
                                                       Attorneys for Plaintiffs
  25

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                                                       11
                                     COMPLAINT FOR PROPERTY DAMAGE
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                     EXHIBIT "1"
                                              Case 2:21-cv-05895-MWF-E Document 1-2 Filed 07/21/21 Page 14 of 18 Page ID #:28


        Carrier           Claim Number       Normalized_Name       DoL                                      Address                    Building          Personal Property     ALE_BI         Auto_Boat    Paid         Reserve   djustment_Stat     Fire
American Claims (TPA)   42024943         Bahl, Myrna               12/05/2017   13242 La Tierra Way , Sylmar, CA 91342                       $5,720.16             $3,942.61                                $9,662.77              Closed        Creek
American Claims (TPA)   42025056         Basich , Slbodan          12/05/2017   13963 Polk Street , Sylmar, CA 91342                         $6,985.05                                                      $6,985.05              Closed        Creek
American Claims (TPA)   42025067         Diaz , Frank              12/08/2017   443 N. Macneil Street, San Fernando , CA 91340               $6,884.47                                                      $6,884.47              Closed        Creek
American Claims (TPA)   42025816         Estrada , Juan            12/05/2017   12450 Terra Bella Street , Pacoima , CA 91331                $2,500.00                                                      $2,500.00              Closed        Creek
American Claims (TPA)   42025137         Garcia , Vera             12/04/2017   11505 Orcas Avenue , Lakeview Terrace , CA 91342             $9,034.64                                                      $9,034.64              Closed        Creek
American Claims (TPA)   42025010         Rangel , Dimpna           12/12/2017   11419 Kamloops Street, Lakeview Terrace , CA 91342           $7,897.78                                                      $7,897.78              Closed        Creek
GuideOne                Aa099014         Hallelujah Prayer Center 12/06/2017    9401 Tujunga Valley Street , Sunland, CA 91040            $379,618.04                                                     $379,618.04              Closed        Creek
GuideOne                Aa099178         New vista Health Services              8647 Fenwick Street , Sunland, CA 91040                     $23,269.63                                                     $23,269.63              Closed        Creek
Mercury                 CAHO-00053583    ABASYAN, SEDA             12/05/2017   8128 ALLOTT AVE, PANORAMA CITY, CA 91402                       $957.52                                                        $957.52              Closed        Creek
Mercury                 CAHO-00054010    ABRAAMIAN, MARINE         12/05/2017   14751 WEDDINGTON STREET, SHERMAN OAKS, CA 91411              $8,207.80            $1,296.09                                 $9,503.89              Closed        Creek
Mercury                 CAHO-00052385    ABRAHAMIAN, ALEN          12/05/2017   10603 Helendale Ave, Tujunga, CA 91042                         $442.25                                                        $442.25              Closed        Creek
Mercury                 CAHO-00052422    ADZEMIAN, VARDAN          12/07/2017   13554 CANTARA ST, PANORAMA CITY, CA 91402                    $5,009.42              $780.00                                 $5,789.42              Closed        Creek
Mercury                 CAHO-00053953    AGAZARYAN, VARDOUHI 12/05/2017         7017 MAMMOTH AVENUE, VAN NUYS, CA 91405                      $1,279.59              $260.00                                 $1,539.59              Closed        Creek
Mercury                 CAHO-00052655    AGESYAN, ARMEN            12/05/2017   7620 WHITSETT AVE., NORTH HOLLYWOOD, CA 91605                  $799.71              $195.00                                   $994.71              Closed        Creek
Mercury                 CAHO-00053347    AGUINAGA, DAVID           12/05/2017   10700 FLORALITA AVE, SUNLAND, CA 91040                       $1,163.85              $130.00                                 $1,293.85              Closed        Creek
Mercury                 CAHO-00053597    Ajoonian, Vanik           12/05/2017   12114 Van Nuys Blvd, Sylmar, CA 91342                        $8,885.38                                                      $8,885.38              Closed        Creek
Mercury                 CAHO-00053596    AKHVERDYAN, KARINE        12/05/2017   8115 NAGLE AVE, NORTH HOLLYWOOD, CA 91605                      $395.80                                                        $395.80              Closed        Creek
Mercury                 CAHO-00053555    AKOPYAN, LILIT            12/05/2017   10000 Gerald Ave, North Hills, CA 91343                      $6,089.12            $2,491.00                                 $8,580.12              Closed        Creek
Mercury                 CAHO-00054367    AKOPYAN, MKRTICH          12/06/2017   13122 RANGOON ST, ARLETA, CA 91331                           $5,477.50            $2,719.00                                 $8,196.50              Closed        Creek
Mercury                 CAHO-00052274    ALCALA, JOANNE            12/05/2017   1058 NEWTON ST, SAN FERNANDO, California 91340               $1,114.62             $260.00                                  $1,374.62              Closed        Creek
Mercury                 CAHO-00052313    ALCOCER, PRISCILLA        12/05/2017   12945 ROMONT ST, SYLMAR, California 91342                    $3,138.41            $2,587.93         $500.00                 $6,226.34              Closed        Creek
Mercury                 CAHO-00053772    ALEPYAN, JASON            12/05/2017   14227 GAULT ST, VAN NUYS, CA 91405                             $914.80             $130.00                                  $1,044.80              Closed        Creek
Mercury                 CAHO-00053601    ALMASI, MELINE            12/05/2017   3148 N Naomi St, Burbank, CA 91504                             $816.90                                                        $816.90              Closed        Creek
Mercury                 CAHO-00053756    Alonso, Sergio            12/06/2017   13850 Wheeler Ave, Sylmar, CA 91342                          $1,222.82                                                      $1,222.82              Closed        Creek
Mercury                 CAHO-00054009    ALVAREZ, STEPHANIE        12/05/2017   13771 LINFIELD AVENUE, SYLMAR, CA 91342                      $1,025.85              $314.00                                 $1,339.90              Closed        Creek
Mercury                 CAHO-00053115    AMBARTSOMYAN, AVETIS 12/05/2017        8150 BROADLEAF AVE., PANORAMA CITY, CA 91402                 $1,557.79                                                      $1,557.79              Closed        Creek
Mercury                 CAHO-00053354    ANADOLIAN, HAMPIK         12/05/2017   11517 Lexicon Ave, Sylmar, CA 91342                          $1,900.37              $246.25                                 $2,146.62              Closed        Creek
Mercury                 CAHO-00056506    ANAYA, CARMEN             12/08/2017   13182 FERNMONT STREET, SYLMAR, CA 91342                        $601.18                                                        $601.18              Closed        Creek
Mercury                 CAHO-00052230    Andalon, Daniel           12/05/2017   12957 Wheeler Ave, Sylmar, CA 91342                          $8,351.49                                                      $8,351.49              Closed        Creek
Mercury                 CAHO-00052635    ANDERSON, PAUL            12/05/2017   12101 Van Nuys Blvd, Sylmar, CA 91342                       $12,644.94                                                     $12,644.94              Closed        Creek
Mercury                 CAHO-00055840    ANDERSON, WILLIAM         12/08/2017   9310 HASKELL AVE, NORTH HILLS, CA 91343                        $257.80              $650.00                                   $907.80              Closed        Creek
Mercury                 CAHO-00052375    ANGULO, ALDEN             12/05/2017   11876 PHILLIPPI AVE, PACOIMA, CA 91331                       $2,487.04                                                      $2,487.04              Closed        Creek
Mercury                 CAHO-00056411    ANGULO, GABRIEL           12/06/2017   7632 TUJUNGA AVE, NORTH HOLLYWOOD, CA 91605                  $3,430.80              $390.00                                 $3,820.80              Closed        Creek
Mercury                 CAHO-00053146    ANTONYAN, NORAIR          12/07/2017   6463 GILSON AVE, NORTH HOLLYWOOD, CA 91606                  $11,907.00                                                     $11,907.00              Closed        Creek
Mercury                 CAHO-00052480    Arriola, Candelario       12/08/2017   10344 Arnwood Rd, Sylmar, CA 91342                           $2,778.12              $915.12                                 $3,693.24              Closed        Creek
Mercury                 CAHO-00052701    ARUSTAMYAN, MIKE          12/05/2017   8219 Lullaby Ln, Panorama City, CA 91402                     $7,666.92                                                      $7,666.92              Closed        Creek
Mercury                 CAHO-00053994    ARUTYUNYAN, STEPAN        12/05/2017   8215 Noble Ave, Panorama City, CA 91402                      $3,312.66              $390.00                                 $3,702.66              Closed        Creek
Mercury                 CAHO-00052740    ARZUMANIAN, RIPSME        12/05/2017   14372 COHASSET ST, VAN NUYS, CA 91405                        $1,396.10                                                      $1,396.10              Closed        Creek
Mercury                 CAHO-00052000    ARZUMANYAN, GAIK          12/05/2017   8437 GREENBRUSH AVE, PANORAMA CITY, California 91402         $1,257.20                                                      $1,257.20              Closed        Creek
Mercury                 CAHO-00052207    AUSTIN, TONYUA            12/05/2017   11755 Hunnewell Ave, Sylmar, CA 91342                        $6,244.33                                                      $6,244.33              Closed        Creek
Mercury                 CAHO-00053623    AUSTRIA, ELSIE            12/05/2017   11940 KATHYANN ST, LAKE VIEW TERRACE, CA 91342               $1,508.31                                                      $1,508.31              Closed        Creek
Mercury                 CAHO-00074631    Avalos, Susana            12/06/2017   15037 Roxford St., Sylmar, CA 91342                          $2,646.86                                                      $3,646.86              Closed        Creek
Mercury                 CAHO-00052535    AVANESOV, GARY            12/05/2017   15410 Keswick St, Van Nuys, CA 91406                        $14,374.36                                                     $14,374.36              Closed        Creek
Mercury                 CAHO-00052853    AVEDISIAN, VARUZHAN 12/05/2017         6625 PEACH AVE, VAN NUYS, CA 91406                          $11,456.01            $1,430.01                                $12,886.02              Closed        Creek
Mercury                 CAHO-00053887    AVILA, FRANCISCO          12/05/2017   13334 CALCUTTA STREET, SYLMAR, CA 91342                         $51.55             $260.00                                    $311.55              Closed        Creek
Mercury                 CAHO-00055315    AVITIA, MARDONIO          12/05/2017   13272 Sayre St, Sylmar, CA 91342                             $3,253.75                                                      $3,253.75              Closed        Creek
Mercury                 CAHO-00054172    AYRAPETYAN, MIRIAM        12/06/2017   8101 VARNA AVE, PANORAMA CITY, CA 91402                      $1,926.35           $10,863.00                                $12,789.35              Closed        Creek
Mercury                 CAHO-00052819    BAGDATYAN, SIRANUSH 12/04/2017         13518 BASSETT STREET, VAN NUYS, California 91405            $14,251.34            $4,462.00                                $21,213.34              Closed        Creek
Mercury                 CAHO-00052158    BANEZ, AGNES              12/05/2017   12101 Van Nuys Blvd, Sylmar, CA 91342                        $1,172.25             $325.00                                  $1,497.25              Closed        Creek
Mercury                 CAHO-00061838    BARAJAS, JUAN             12/05/2017   14954 WOLFSKILL ST, MISSION HILLS, CA 91345                  $2,714.20                                                      $2,714.20              Closed        Creek
Mercury                 CAHO-00052268    BARBA, SALVADOR           12/05/2017   13225 Foothill Blvd, Sylmar, CA 91342                        $1,759.70                                                      $1,759.70              Closed        Creek
Mercury                 CAHO-00053387    BARBERO, JAIME            12/05/2017   14956 INDEX STREET, MISSION HILLS, CA 91345                  $1,050.49             $130.00                                  $1,180.49              Closed        Creek
Mercury                 CAHO-00052233    BARCELO GRACIA, CYNTHIA12/06/2017      10654 MARY BELL AVE. , Shadow Hills, CA 91040               $12,540.82            $5,000.12         $190.55                $17,731.49              Closed        Creek
Mercury                 CAHO-00052971    Baron, Larry              12/05/2017   9906 SHADOW HILLS DRIVE, SHADOW HILLS, CA 91040              $9,518.36                              $762.16                $10,280.52              Closed        Creek
Mercury                 CAHO-00052817    BARSEGYAN, NONA           12/05/2017   7756 Allott Ave, Panorama City, CA 91402                     $2,027.76            $3,244.25                                 $5,272.01              Closed        Creek
Mercury                 CAHO-00052141    BASMAJIAN, ZOHRAB         12/05/2017   6701 Saint Estaban St, Tujunga, CA 91042                     $4,550.98                                                      $4,550.98              Closed        Creek
Mercury                 CAHO-00053893    BEBOUT, CHRISTOPHER 12/05/2017         11001 LEOLANG AVENUE, SUNLAND, CA 91040                      $1,577.52              $130.00         $208.20                 $1,915.72              Closed        Creek
Mercury                 CAHO-00055150    BEDROSIAN, SARKIS         12/05/2017   6344 Mary Ellen Ave, Van Nuys, CA 91401                      $3,027.36              $455.00                                 $4,482.36              Closed        Creek
Mercury                 CAHO-00052536    BEZIKYAN, AKOP            12/05/2017   8116 Allott Ave, Panorama City, CA 91402                     $5,452.61                                                      $5,452.61              Closed        Creek
Mercury                 CAHO-00052200    Blikian, Grigor           12/05/2017   13947 Chandler Blvd, Sherman Oaks, CA 91401                  $2,643.12             $650.00                                  $3,293.12              Closed        Creek
Mercury                 CAHO-00052401    Blisten, Barry            12/05/2017   11364 Goren Pl, Sylmar, CA 91342                            $16,661.02            $1,423.77         $420.62                $18,505.41              Closed        Creek
Mercury                 CAHO-00052702    BOCANEGRA, LEONARDO 12/05/2017         12109 Gager St, Sylmar, CA 91342                             $2,198.09                                                      $2,198.09              Closed        Creek
Mercury                 CAHO-00053015    BOGHOSIAN, DRO            12/05/2017   11000 SCOVILLE AVENUE, SUNLAND, CA 91040                     $1,289.73                                                      $1,289.73              Closed        Creek
Mercury                 CAHO-00052709    BOKYUN CHUN, ALEXANDR12/05/2017        10124 McBroom St, Shadow Hills, CA 91040                     $8,671.05                            $1,694.14                $10,365.19              Closed        Creek
Mercury                 CAHO-00060159    BOROZANGYAN, IRINA        12/08/2017   6238 LONGRIDGE AVE, VAN NUYS, CA 91401                       $1,449.64                                                      $1,449.64              Closed        Creek
Mercury                 CAHO-00053968    BOUBEL, JOHN              12/05/2017   13580 LINFIELD AVE, SYLMAR, CA 91342                         $1,238.38                                                      $1,238.38              Closed        Creek
Mercury                 CAHO-00052697    BREKKEN, BARBARA          12/04/2017   10805 Oak Mountain Pl, Sunland, CA 91040                    $65,053.34            $3,457.01                                $71,010.35              Closed        Creek
Mercury                 CAHO-00053586    BUCCIARELLI, CHRISTINA 12/05/2017      12589 TIBBETTS ST, SYLMAR, CA 91342                          $2,144.06             $130.00                                  $2,274.06              Closed        Creek
Mercury                 CAHO-00057040    CABRERA, ELISA            12/05/2017   13690 BADGER AVE, SYLMAR, CA 91342                             $843.19                                                        $843.19              Closed        Creek
Mercury                 CAHO-00054563    Cacho, Richard            12/05/2017   13759 Shablow Ave, Sylmar, CA 91342                          $1,297.89                                                      $1,297.89              Closed        Creek
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Mercury   CAHO-00057665   CALDERA, JENNIE        12/05/2017   13168 DESMOND ST, PACOIMA, CA 91331                    $7,603.16     $6,607.59                    $14,210.75   Closed   Creek
Mercury   CAHO-00054400   CAMARENA, DELIA        12/05/2017   10954 WHITEGATE AVE, SUNLAND, CA 91040                 $1,144.81      $260.00                      $1,404.81   Closed   Creek
Mercury   CAHO-00058486   CAMPBELL, SUZETTE      12/05/2017   11987 ADELPHIA AVE, PACOIMA, CA 91331                   $310.34                                     $310.34    Closed   Creek
Mercury   CAHO-00053679   CARBAJAL, HORTENCIA    12/06/2017   13421 BERG STREET, SYLMAR, CA 91342                    $1,858.55      $260.00                      $2,118.55   Closed   Creek
Mercury   CAHO-00054832   CARDENAS, ANDRES       12/05/2017   13000 Maclay St, Sylmar, CA 91342                       $772.58       $585.00                      $1,357.58   Closed   Creek
Mercury   CAHO-00053593   CARENAS, BRIAN         12/05/2017   13071 Oberlin St, Sylmar, CA 91342                     $1,582.02      $260.00                      $1,842.02   Closed   Creek
Mercury   CAHO-00052578   CARLOS, ARMANDO        12/05/2017   1625 8TH STREET, SAN FERNANDO, CA 91340                $3,645.63                                   $3,645.63   Closed   Creek
Mercury   CAHO-00052157   CARLOS, DENNIS         12/05/2017   12101 Van Nuys Blvd, Sylmar, CA 91342                 $14,414.04     $2,817.00                    $17,231.04   Closed   Creek
Mercury   CAHO-00052484   CARMONA, ERNESTO       12/05/2017   11235 SHELDON STREET, SUN VALLEY, CA 91352              $359.07                     $266.20         $625.27    Closed   Creek
Mercury   CAHO-00056147   CASTILLO, RUTH         12/05/2017   13830 CORRENTI STREET, ARLETA, CA 91331                $1,226.18                                   $1,226.18   Closed   Creek
Mercury   CAHO-00053352   CASTILLON, JUDITH      12/05/2017   13200 Mira Mar Dr, Sylmar, CA 91342                       $70.60      $130.00       $816.88        $1,017.48   Closed   Creek
Mercury   CAHO-00057360   CHAHAL, PUNJAB         12/06/2017   12101 VAN NUYS BLVD., SYLMAR, CA 91342                 $5,958.26      $659.00                      $6,617.26   Closed   Creek
Mercury   CAHO-00062678   CHANDRA, SHIU          12/08/2017   19065 BRASILIA DR, NORTHRIDGE, CA 91326                $2,461.05                                   $4,961.05   Closed   Creek
Mercury   CAHO-00052876   CHAPIN, DOUGLAS        12/05/2017   10641 LOST TRAIL AVENUE, SUNLAND, CA 91040              $897.36       $260.00                      $1,157.36   Closed   Creek
Mercury   CAHO-00054504   CHAREKCHYAN, MARI      12/06/2017   7701 ATOLL AVE, NORTH HOLLYWOOD, CA 91605             $14,888.92     $1,285.81                    $17,174.73   Closed   Creek
Mercury   CAHO-00052114   CHARLESTON, HENRY      12/05/2017   10755 Wheatland Ave, Sunland, CA 91040               $501,984.90   $252,562.50   $117,795.85   $1,333,275.10   closed   Creek
Mercury   CAHO-00052234   CHAVDA, CHANDRA        12/05/2017   13045 Hagar St, Sylmar, CA 91342                       $2,463.47                                   $2,463.47   Closed   Creek
Mercury   CAHO-00061333   CHAVEZ, POMPEYO        12/05/2017   15052 Marson St, Panorama City, CA 91402                              $329.53                       $329.53    Closed   Creek
Mercury   CAHO-00053229   CHIVICHYAN, ARMEN      12/05/2017   5939 Cantaloupe Ave, Valley Glen, CA 91401             $1,543.01                                   $1,543.01   Closed   Creek
Mercury   CAHO-00053414   CONTRERAS, CARMEN      12/12/2017   13162 GOLETA STREET, PACOIMA, CA 91331                  $999.66       $260.00                      $1,259.66   Closed   Creek
Mercury   CAHO-00055537   CRABTREE, MICHAEL      12/05/2017   11040 McBroom St, Sunland, CA 91040                    $2,688.57                                   $2,688.57   Closed   Creek
Mercury   CAHO-00052173   DALE, JUSTIN           12/05/2017   11442 Brainard Ave, Lake View Terrace, CA 91342        $8,025.27                                   $8,025.27   Closed   Creek
Mercury   CAHO-00054831   DANIEL, SERJ           12/06/2017   7733 Agnes Ave, North Hollywood, CA 91605               $713.52                                     $713.52    Closed   Creek
Mercury   CAHO-00052161   DARMANDJIAN, TAMARA 12/05/2017      13143 RATNER ST, NORTH HOLLYWOOD, CA 91605              $411.11       $520.00                       $931.11    Closed   Creek
Mercury   CAHO-00053017   DAVID, JACQUELYN       12/05/2017   15752 Ararat St, Sylmar, CA 91342                      $9,444.19                                   $9,444.19   Closed   Creek
Mercury   CAHO-00053470   DAVILA, LUIS           12/05/2017   12071 Adelphia Ave, San Fernando, CA 91340             $1,545.82      $715.00                      $2,260.82   Closed   Creek
Mercury   CAHO-00052142   Davodyan, Sabou        12/05/2017   11482 Kagel Canyon St, Sylmar, CA 91342                             $10,894.75     $2,520.63      $13,415.38   Closed   Creek
Mercury   CAHO-00052787   DAVTYAN, AREVIK        12/09/2017   6720 TOBIAS AVE, VAN NUYS, California 91405            $1,222.06      $390.00                      $1,612.06   Closed   Creek
Mercury   CAHO-00058791   DE JESUS BURGARA, IVAN 12/05/2017   11229 COMETA AVE, PACOIMA, CA 91331                     $665.22       $260.00                       $925.22    Closed   Creek
Mercury   CAHO-00052260   DELGADO, EDMUND        12/05/2017   10042 MCBROOM ST, SUNLAND, CA 91040                  $384,256.93   $347,397.45    $37,952.42    $772,556.80    Closed   Creek
Mercury   CAHO-00052236   DERBEDERIAN, SONA      12/05/2017   7911 Lloyd Ave, North Hollywood, CA 91605              $1,031.26     $1,864.25                     $2,895.51   Closed   Creek
Mercury   CAHO-00053706   DERIAN, MICHAEL        12/05/2017   15436 MAYALL ST, MISSION HILLS, CA 91345               $2,028.69                                   $2,028.69   Closed   Creek
Mercury   CAHO-00052365   DERMENDZHYAN, LILIA    12/05/2017   7821 RANCHITO AVE, PANORAMA CITY, California 91402      $284.64                                     $284.64    Closed   Creek
Mercury   CAHO-00053001   DIANCE, J CRUZ         12/05/2017   11852 APPLE GROVE LN, #110, SYLMAR, CA 91342           $7,765.40                                   $7,765.40   Closed   Creek
Mercury   CAHO-00055182   DOMINGUEZ MEDINA, ART12/05/2017     13071 HERRICK AVE., SYLMAR, CA                          $840.90                                     $840.90    Closed   Creek
Mercury   CAHO-00053020   DOMINGUEZ, BENJAMIN 12/05/2017      14749 ASTORIA ST, SYLMAR, CA 91342                                    $708.65                       $708.65    Closed   Creek
Mercury   CAHO-00058174   EBEYAN, ANUSHIK        12/05/2017   1915 GLENWOOD ROAD, GLENDALE, CA 91201                $12,714.66                                  $12,714.66   Closed   Creek
Mercury   CAHO-00053991   EKMEKJIAN, SAMUEL      12/05/2017   7952 GREENBUSH AVE, PANORAMA CITY, CA 91402            $5,089.07      $130.00                      $5,219.07   Closed   Creek
Mercury   CAHO-00052450   ELIAS, GABRIEL         12/05/2017   11885 Wheeler Ave, SYLMAR, CA 91342                    $8,968.82    $18,140.53     $1,014.86      $28,124.21   Closed   Creek
Mercury   CAHO-00052434   ELIAS, JESUS           12/08/2017   12156 CLARETTA ST, LAKE VIEW TERRACE, CA 91342         $5,983.53      $390.00      $1,472.66       $7,846.19   Closed   Creek
Mercury   CAHO-00057690   ELLIOTT, MARGARET      12/05/2017   11235 SUNBURST STREET, SYLMAR, CA 91342                $2,878.70                                   $2,878.70   Closed   Creek
Mercury   CAHO-00053528   ENCARNACION, VICTOR 12/05/2017      12755 CAMERON AVE, SYLMAR, CA 91342                     $982.00       $520.00                      $1,502.00   Closed   Creek
Mercury   CAHO-00055891   ERZEROUMAIN, ANDRANIK12/05/2017     7877 VARNA AVENUE, PANORAMA CITY, CA 91402             $1,292.41                                   $1,292.41   Closed   Creek
Mercury   CAHO-00053092   ESCAJEDA, FERNANDO     12/05/2017   12578 CATHY STREET, SYLMAR, CA 91342                   $1,302.65      $777.00       $150.00        $2,229.65   Closed   Creek
Mercury   CAHO-00053600   ESTEPANIAN, ROBERT     12/05/2017   7142 Firmament Ave, Van Nuys, CA 91406                 $3,985.04      $687.47                      $4,672.51   Closed   Creek
Mercury   CAHO-00056139   ESTRADA, ALFONSO       12/05/2017   7928 Satsuma Ave, Sun Valley, CA 91352                 $1,441.63                                   $1,441.63   Closed   Creek
Mercury   CAHO-00052903   EVEREKYAN, KARAPET     12/05/2017   8125 LULLABY LANE, PANORAMA CITY, CA 91402              $432.89                                     $432.89    Closed   Creek
Mercury   CAHO-00053091   GALLEGOS, NYSA         12/05/2017   14041 Lakeside St, Sylmar, CA 91342                    $8,640.37      $656.91       $285.36        $9,582.64   Closed   Creek
Mercury   CAHO-00052731   GALVEZ, SHUANDY        12/05/2017   7927 KYLE ST, SUNLAND, CA 91040                        $4,864.26                                   $4,864.26   Closed   Creek
Mercury   CAHO-00059482   GARABET, SHANT         12/06/2017   11467 FOX HOLLOW LANE, PACOIMA, CA 91331                $603.39                                     $603.39    Closed   Creek
Mercury   CAHO-00052954   Garabet, Shoghig       12/05/2017   12384 Carl St, Pacoima, CA 91331                       $8,210.67      $658.64                      $8,869.31   Closed   Creek
Mercury   CAHO-00055078   GARAY, MARISOL         12/05/2017   13697 De Garmo Ave, Sylmar, CA 91342                   $2,269.74                                   $2,269.74   Closed   Creek
Mercury   CAHO-00052155   Garcia Yanez, Berenice 12/05/2017   13780 Sunburst St., Arleta, CA 91331                   $7,849.82      $650.00                      $8,499.82   Closed   Creek
Mercury   CAHO-00063628   GARCIA, ARTURO         12/05/2017   13869 Astoria St, Sylmar, CA 91342                     $1,533.16                                   $1,533.16   Closed   Creek
Mercury   CAHO-00053110   GARCIA, EMILIO         12/05/2017   13716 Simshaw Ave, Sylmar, CA 91342                    $1,178.06     $1,747.00                     $2,925.06   Closed   Creek
Mercury   CAHO-00052639   GARCIA, JAIME          12/08/2017   10233 LAUREL CANYON ROAD, PACOIMA, CA 91331            $2,804.05                                   $2,804.05   Closed   Creek
Mercury   CAHO-00052959   GARCIA, MANUEL         12/05/2017   10228 BARTEE AVE, ARLETA, CA 91331                     $2,840.60      $314.05                      $3,154.65   Closed   Creek
Mercury   CAHO-00052202   Garcia, Victoria       12/05/2017   13032 Weidner St., Pacoima, CA 91331                    $483.78       $195.00                       $678.78    Closed   Creek
Mercury   CAHO-00056703   GARDETTE, KERRY        12/08/2017   11143 Yolanda Ave, Northridge, CA 91326                $7,835.12      $780.00                      $9,615.13   Closed   Creek
Mercury   CAHO-00054486   Garduno, Evodio        12/05/2017   11422 Eldridge Ave, Sylmar, CA 91342                   $1,860.16     $1,577.29                     $3,437.45   Closed   Creek
Mercury   CAHO-00052429   Garong, Zenaida        12/05/2017   12101 Van Nuys Blvd, Sylmar, CA 91342                   $672.25       $325.00        $11.01        $1,008.26   Closed   Creek
Mercury   CAHO-00053508   GARZA, REYNALDO        12/05/2017   14046 RYAN STREET, SYLMAR, CA 91342                     $374.90       $390.00                       $764.90    Closed   Creek
Mercury   CAHO-00053002   GEDZHEKUSHYAN, MIHRAN12/04/2017     14330 COHASSET STREET, VAN NUYS, CA 91405              $2,077.66     $6,661.95                     $9,739.61   Closed   Creek
Mercury   CAHO-00053996   GEUVJEHIZIAN, HAMLET 12/05/2017     8117 COLDWATER CANYON AVE, NORTH HOLLYWOOD, CA 916     $1,720.53                                   $1,720.53   Closed   Creek
Mercury   CAHO-00053598   GEVORGIAN, GEVORG      12/05/2017   7043 PARK MANOR AVE, NORTH HOLLYWOOD, CA 91605         $2,350.57                                   $2,350.57   Closed   Creek
Mercury   CAHO-00053494   GHARIBI, GARY          12/05/2017   13706 Marchant Ave, Sylmar, California 91342            $307.00       $520.00                       $827.00    Closed   Creek
Mercury   CAHO-00052913   GHEVONDIAN, ARTOOR 12/05/2017       8103 BROWNSTONE ST, SUNLAND, CA 91040                  $2,413.21                                   $2,413.21   Closed   Creek
Mercury   CAHO-00052164   Giovanisci , Stephen   12/05/2017   10931 Shadow Hills Ave., Shadow Hills, CA 91040        $8,719.95     $5,127.72                    $13,847.67   Closed   Creek
Mercury   CAHO-00052673   GOLAMIRIANS, GRIGOR 12/05/2017      9319 Crystal View Dr, Tujunga, California 91042         $520.00       $650.00                      $1,170.00   Closed   Creek
Mercury   CAHO-00059079   GOMEZ, FERMIN          12/08/2017   12777 GLENOAKS BLVD, SYLMAR, CA 91342                  $4,676.19      $260.00                      $4,936.19   Closed   Creek
Mercury   CAHO-00054351   GONZALES, MARTHA       12/06/2017   1055 FERMOORE STREET, SAN FERNANDO, CA 91340            $380.00                                    $1,380.00   Closed   Creek
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Mercury   CAHO-00052358   GONZALEZ, HECTOR        12/05/2017   11522 VANPORT AVE, SYLMAR, California 91342          $1,209.39                            $1,209.39   Closed   Creek
Mercury   CAHO-00052442   GOSPARINI, HORACIO      12/05/2017   13644 KAMLOOPS STREET, ARLETA, California 91331       $420.37     $650.00                 $1,070.37   Closed   Creek
Mercury   CAHO-00054837   Grumbach, Betty         12/05/2017   13194 Correnti St, Arleta, CA 91331                  $2,470.41                            $2,470.41   Closed   Creek
Mercury   CAHO-00052415   GUERRERO, GUADALUPE 12/04/2017       2954 N MYERS ST, BURBANK, CA 91501                   $1,546.88                            $2,046.88   Closed   Creek
Mercury   CAHO-00059827   GUERRERO, ISRAEL        12/06/2017   12937 Osborne St, Pacoima, CA 91331                   $975.77                              $975.77    Closed   Creek
Mercury   CAHO-00052774   GUIJARRO, VERONICA      12/05/2017   1055 N Brand Blvd, San Fernando, CA 91340            $1,324.14    $325.00                 $1,649.14   Closed   Creek
Mercury   CAHO-00052235   Guillen , Armando       12/05/2017   12915 Alexander St., Sylmar, CA 91342               $15,058.99    $658.64                $15,717.63   Closed   Creek
Mercury   CAHO-00052666   GUTIERREZ CALDERON, SA 12/06/2017    649 N. LAZARD ST, SAN FERNANDO, CA 91340              $728.85     $585.00                 $2,313.85   Closed   Creek
Mercury   CAHO-00052351   HAKOBYAN, Satine        12/05/2017   10063 Orcas Ave, Sunland, CA 91040                   $1,635.97   $6,332.75   $2,750.00   $10,718.72   Closed   Creek
Mercury   CAHO-00052115   Hakopyan, Aneta         12/05/2017   8055 Lullaby Lane, Panorama City, CA 91402            $103.74                              $103.74    Closed   Creek
Mercury   CAHO-00053334   HAMBARDZUMYAN, VARD 12/05/2017       19231 Erwin St, Tarzana, CA 91335                     $543.34     $130.00                  $673.34    Closed   Creek
Mercury   CAHO-00054169   HAROUTUNIAN, ZAVEN 12/05/2017        8013 VANTAGE AVE, NORTH HOLLYWOOD, CA 91605         $14,376.93                           $16,876.93   Closed   Creek
Mercury   CAHO-00052042   Harris, Leonardo        12/05/2017   718 N Meyer Street, San Fernando, CA 91340          $11,267.64                           $11,267.64   Closed   Creek
Mercury   CAHO-00052294   HERNANDEZ, GUADALUPE 12/05/2017      13202 CRANSTON AVE, SYLMAR, California 91342         $1,530.58                            $1,530.58   Closed   Creek
Mercury   CAHO-00053089   HERNANDEZ, LORENA       12/05/2017   10237 Laurel Canyon Blvd, Pacoima, CA 91331          $1,045.78    $260.00                 $1,305.78   Closed   Creek
Mercury   CAHO-00057618   HERNANDEZ, RAFAEL       12/05/2017   13736 LINFIELD AVE, SYLMAR, CA 91342                  $471.65                              $471.65    Closed   Creek
Mercury   CAHO-00054156   HINOJOSA, ANGELICA      12/05/2017   13431 WHEELER AVENUE, SYLMAR, CA 91342               $1,726.46                            $1,726.46   Closed   Creek
Mercury   CAHO-00052304   HOVANESYAN, ARMAN       12/05/2017   13749 Wyandotte St, Van Nuys, CA 91405                $577.12                              $577.12    Closed   Creek
Mercury   CAHO-00053547   HOVHANNISYAN, VARDGE 12/05/2017      9759 CEDROS AVENUE, PANORAMA CITY, CA 91402           $737.44     $130.00                  $867.44    Closed   Creek
Mercury   CAHO-00053554   HUEZO, RINA             12/05/2017   3001 N NAOMI ST, BURBANK, CA 91504                    $315.00                              $315.00    Closed   Creek
Mercury   CAHO-00053998   HULEIS, GHADA           12/05/2017   8400 PETALUMA DRIVE, SUN VALLEY, California 91352    $2,104.13                            $2,104.13   Closed   Creek
Mercury   CAHO-00053713   ISSAKHANIAN, EDWIN      12/05/2017   14256 MINNEHAHA ST, MISSION HILLS, CA 91345          $9,935.00    $130.00                $10,065.00   Closed   Creek
Mercury   CAHO-00052187   Jiles, Emmett           12/05/2017   13113 Rangoon St., Arleta, CA 91331                  $3,868.90    $780.00      $92.92     $4,741.82   Closed   Creek
Mercury   CAHO-00053180   JIMENEZ, JESUS          12/05/2017   12414 GRUEN STREET, PACOIMA, CA 91331                $2,553.51    $390.00                 $2,943.51   Closed   Creek
Mercury   CAHO-00053165   JR, PAUL                12/05/2017   10442 Columbus Ave., Mission Hills, CA 91345                                              $2,790.41   Closed
Mercury   CAHO-00053202   KARADOLIAN, ARAM        12/05/2017   9700 Aura Ave, Northridge, CA 91324                  $1,337.98                            $3,837.98   Closed   Creek
Mercury   CAHO-00052812   KARCHIKYAN, LIANA       12/05/2017   7248 Cleon Ave, Sun Valley, CA 91352                 $1,978.18    $130.00                 $2,108.18   Closed   Creek
Mercury   CAHO-00052080   Kashani, Farzad         12/05/2017   12117 Van Nuys Blvd. , Sylmar, CA 91342             $10,425.02                           $10,425.02   Closed   Creek
Mercury   CAHO-00052134   KESHISHIAN, ANNIE       12/05/2017   16243 VINTAGE STREET, NORTH HILLS, CA 91343          $1,201.35    $390.00                 $1,591.35   Closed   Creek
Mercury   CAHO-00053560   KESHISHVAN, KOMITAS 12/05/2017       8947 GLORIA AVE, NORTH HILLS, CA 91343                $498.81                              $498.81    Closed   Creek
Mercury   CAHO-00053656   KHARIKIAN, KARAPET      12/05/2017   11914 Gager St, Lake View Terrace, CA 91342          $4,841.46                $875.00     $5,716.46   Closed   Creek
Mercury   CAHO-00052972   KHATCHATRIAN, RAFAEL 12/05/2017      7845 FULTON AVE, NORTH HOLLYWOOD, CA 91605           $3,508.02                            $3,508.02   Closed   Creek
Mercury   CAHO-00052193   Khudabakhshyan, Heros 12/05/2017     12201 Youngdale Ave, Sylmar, CA 91342                 $908.73     $260.00                 $1,168.73   Closed   Creek
Mercury   CAHO-00053195   KIL, ANDREW             12/05/2017   13005 Mesa Verde Way, Sylmar, CA 91342               $1,430.50                            $1,430.50   Closed   Creek
Mercury   CAHO-00052127   Kim, Kenneth            12/05/2017   10751 Meadow Ridge Street, Shadow Hills, CA 91040   $12,696.23                           $12,696.23   Closed   Creek
Mercury   CAHO-00052511   Kim, Suk                12/05/2017   11851 Birch Grove Ln, Sylmar, CA 91342               $9,966.65               $6,577.39   $16,544.04   Closed   Creek
Mercury   CAHO-00052102   KITAPSZYAN, HASMIK      12/05/2017   13301 Blythe St, North Hollywood, CA 91605           $1,560.06                            $1,560.06   Closed   Creek
Mercury   CAHO-00052019   KOHLI, VARUN            12/05/2017   12101 Van Nuys Blvd, Sylmar, California 91342        $3,766.52   $6,350.53   $3,314.06   $13,431.11   Closed   Creek
Mercury   CAHO-00053031   Kostikyan, Meri         12/12/2017   7715 Goodland Ave, N Hollywood, CA 91605              $603.44     $780.00                 $1,383.44   Closed   Creek
Mercury   CAHO-00052603   KOURINIAN, HAROUTYOUN12/05/2017      7033 Matilija Ave, Van Nuys, CA 91405               $10,743.81                           $10,743.81   Closed   Creek
Mercury   CAHO-00052183   Ksadzhikyan, Tigranouie 12/06/2017   13134 Archwood St., North Hollywood, CA 91606        $1,036.30    $650.00                 $1,686.30   Closed   Creek
Mercury   CAHO-00052739   KUPELIAN, ANAHID        12/05/2017   14024 CANTLAY STREET, VAN NUYS, CA 91405             $1,469.72                            $2,469.72   Closed   Creek
Mercury   CAHO-00052469   LANGE, JOHN             12/08/2017   13683 SHABLOW AVENUE, SYLMAR, CA 91342               $1,796.47                            $1,796.47   Closed   Creek
Mercury   CAHO-00053955   LAYOS-GARCIA, CHRISTINE 12/05/2017   11419 FREEDOM LANE, PACOIMA, CA 91331                $1,234.17    $130.00                 $1,234.17   Closed   Creek
Mercury   CAHO-00056046   LAZARO, CANDY           12/08/2017   921 N BRAND BLVD, SAN FERNANDO, CA 91340             $1,777.80    $130.00                 $1,907.80   Closed   Creek
Mercury   CAHO-00056617   LEON, ANGELITA          12/05/2017   8101 Natick Ave, Panorama City, CA 91402            $10,668.78                           $13,168.78   Closed   Creek
Mercury   CAHO-00056042   LEVON, KESEYAN          12/05/2017   14800 LEADWELL STREET, VAN NUYS, CA 91405            $2,656.54    $130.00                 $2,786.54   Closed   Creek
Mercury   CAHO-00054007   LOMELI, SIDONIO         12/05/2017   15730 Celtic St, Granada Hills, CA 91344            $27,491.08                           $27,491.08   Closed   Creek
Mercury   CAHO-00055296   LOPEZ, MARTIN           12/05/2017   12734 RAJAH, SYLMAR, CA 91342                        $1,229.24   $1,525.11                $2,754.35   Closed   Creek
Mercury   CAHO-00052572   LOPEZ, MIGUEL           12/05/2017   13115 DESMOND STREET, PACOIMA, CA 91331              $9,499.02   $1,849.02               $11,348.04   Closed   Creek
Mercury   CAHO-00053564   Lowe, Barbara           12/05/2017   12219 Terra Bella St, Pacoima, CA 91331              $6,469.93                            $6,469.93   Closed   Creek
Mercury   CAHO-00053309   LOZANO SR, MARTIN       12/06/2017   13797 Simshaw Ave, Sylmar, CA 91342                   $738.74     $260.00                  $998.74    Closed   Creek
Mercury   CAHO-00055437   LUNA, MARYSELA          12/06/2017   1321 Phillippi St, San Fernando, CA 91340             $819.43                              $819.43    Closed   Creek
Mercury   CAHO-00052397   LUPERCIO, SILVIA        12/05/2017   10440 KESTER AVE, MISSION HILLS, CA 91345             $609.03     $715.00                 $1,324.03   Closed   Creek
Mercury   CAHO-00052875   MAASSARJIAN, ELIZABETH 12/05/2017    15947 Community St, North Hills, CA 91343           $10,660.03     $65.00                $10,725.03   Closed   Creek
Mercury   CAHO-00052326   Macaluso, Ellen         12/07/2017   17271 Mayerling St, Granada Hills, CA 91344          $1,543.07    $357.50                 $1,900.57   Closed   Creek
Mercury   CAHO-00053992   MACMURRAY, DAVID        12/05/2017   9619 CREEMORE DR, TUJUNGA, CA 91042                  $1,685.27    $130.00                 $1,815.27   Closed   Creek
Mercury   CAHO-00057359   MAGANA, JOSE            12/08/2017   12586 Bromwich St, Pacoima, CA 91331                 $1,815.51    $130.00                 $1,945.51   Closed   Creek
Mercury   CAHO-00052999   MAGDALENO, MELISSA 12/05/2017        13045 Crowley St, Arleta, CA 91331                   $1,303.77    $195.00                 $1,498.77   Closed   Creek
Mercury   CAHO-00057041   MALEFF, TATYANA         12/05/2017   11415 OSBORNE PL, SYLMAR, CA 91342                      $67.02                               $67.02   Closed   Creek
Mercury   CAHO-00052120   MANUKYAN, SAHAK         12/04/2017   15155 Sherman Way, Van Nuys, CA 91405                 $516.72                              $516.72    Closed   Creek
Mercury   CAHO-00056019   Marcial, Raul           12/05/2017   13374 Berg St, Sylmar, CA 91342                      $2,893.75                            $2,893.75   Closed   Creek
Mercury   CAHO-00053599   MARROQUIN, MIGUEL       12/05/2017   9840 STANWIN AVENUE, ARLETA, CA 91331                $2,820.98                            $2,820.98   Closed   Creek
Mercury   CAHO-00052927   MARTINEZ, AGNES         12/05/2017   13035 Portola Way, Sylmar, CA 91342                 $13,391.53    $785.12     $500.00    $14,676.65   Closed   Creek
Mercury   CAHO-00052888   MARTINEZ, FERNANDO      12/07/2017   11576 Cranston Ave, Sylmar, CA 91342                 $1,735.59   $1,738.65                $3,474.24   Closed   Creek
Mercury   CAHO-00064216   MARTINEZ, GEORGE        12/05/2017   11539 Kismet Ave, Sylmar, CA 91342                   $2,586.34                            $2,586.34   Closed   Creek
Mercury   CAHO-00053274   MARTINEZ, JOSE          12/05/2017   14064 CAROL LANE, SYLMAR, CA 91342                   $1,649.86                            $1,649.86   Closed   Creek
Mercury   CAHO-00053537   MASJUAN, CARLOS         12/06/2017   16901 PINERIDGE DR, GRANADA HILLS, CA 91344          $7,272.98                            $7,272.98   Closed   Creek
Mercury   CAHO-00060375   MATA, JACQUELINE        12/08/2017   13853 LAKESIDE STREET, SYLMAR, CA 91342              $1,823.02                            $1,823.02   Closed   Creek
Mercury   CAHO-00057675   MCDONALD, GAYLE         12/05/2017   11386 LEMONCREST AVE, LAKEVIEW TERRACE, CA 91342     $4,651.04    $520.00     $333.17     $5,504.21   Closed   Creek
Mercury   CAHO-00052821   McKeehan, SHELLEY       12/06/2017   10639 Johanna Ave, Shadow Hills, CA 91040            $6,924.29    $130.00     $334.98     $7,389.27   Closed   Creek
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Mercury   CAHO-00056144   MEDRANO, MARY         12/05/2017   8506 SPARTON AVE, PANORAMA CITY, CA 91402                $3,428.17     $351.28                 $3,779.45   Closed   Creek
Mercury   CAHO-00060264   MEJIA, MANUEL         12/08/2017   14610 VALERIO ST, VAN NUYS, CA 91405                     $1,149.75     $520.00                 $1,669.75   Closed   Creek
Mercury   CAHO-00054377   MEJORADO, JOSE        12/08/2017   13563 Corcoran St, San Fernando, CA 91340                 $190.16      $130.00                  $320.16    Closed   Creek
Mercury   CAHO-00057598   MENDEZ, SALVADOR      12/06/2017   12657 Telfair Ave, Sylmar, CA 91342                      $5,743.70     $390.00                 $6,133.70   Closed   Creek
Mercury   CAHO-00057058   MERCURIO, RAUL        12/05/2017   11429 Orcas Ave, Lake View Terrace, CA 91342             $7,837.32                             $7,837.32   Closed   Creek
Mercury   CAHO-00056799   MICHAELA JIMENEZ, NORA12/05/2017   13470 PALA AVE., SYLMAR, CA 91342                        $1,865.73                             $1,865.73   Closed   Creek
Mercury   CAHO-00052692   MIER, JORGE           12/07/2017   13740 MARCHANT AVE, SYLMAR, CA 91342                      $457.24      $650.00                 $1,107.24   Closed   Creek
Mercury   CAHO-00052987   MINASOVA, CARMEN      12/05/2017   7961 Brimfield Ave, Panorama City, CA 91402             $12,664.49                            $12,664.49   Closed   Creek
Mercury   CAHO-00052532   MIRZAIE, JULIET       12/08/2017   15021 COPPER ST, MISSION HILLS, CA 91345                 $9,105.47     $260.00                 $9,365.47   Closed   Creek
Mercury   CAHO-00053369   MITCHELL, SANDRA      12/05/2017   10025 WHEATLAND AVENUE, SUNLAND, CA 91040                $1,928.62     $260.00                 $2,188.62   Closed   Creek
Mercury   CAHO-00052176   MOLINA, JORGE         12/05/2017   10700 Johanna Ave, Sunland, CA 91040                    $53,088.81   $10,579.43               $63,668.24   Closed   Creek
Mercury   CAHO-00052180   Molina, Richard       12/05/2017   14400 Aztec St., Sylmar, CA 91342                         $196.37      $130.00                  $326.37    Closed   Creek
Mercury   CAHO-00052066   Montano, Rosemary     12/05/2017   13050 Cranston Ave, Sylmar, CA 91342                     $2,802.70     $390.94     $176.24     $3,369.88   Closed   Creek
Mercury   CAHO-00054633   MONTERO, JUANITA      12/08/2017   12044 Carl St, Lake View Terrace, CA 91342               $3,604.47     $520.00                 $4,124.47   Closed   Creek
Mercury   CAHO-00053232   MORALES, ARTURO       12/05/2017   12536 GLAMIS ST, PACOIMA, CA 91331                       $1,742.26                             $1,742.26   Closed   Creek
Mercury   CAHO-00052089   Morales, Fatima       12/05/2017   10664 Wheatland Avenue, Sunland, CA 91040               $31,395.22   $12,831.21   $6,431.31   $50,657.74   Closed   Creek
Mercury   CAHO-00063241   MOVSISYAN, MANUSHAK 12/08/2017     8018 Laurelgrove Ave, North Hollywood, CA 91605          $2,941.26                             $2,941.26   Closed   Creek
Mercury   CAHO-00053573   MUNGUIA, MANUEL       12/05/2017   11929 CARL ST, LAKE VIEW TERRACE, CA 91342               $1,675.55     $393.93                 $2,069.48   Closed   Creek
Mercury   CAHO-00057049   MUNOZ, VERONICA       12/05/2017   11328 Hunnewell Ave, Sylmar, CA 91342                     $860.90                               $860.90    Closed   Creek
Mercury   CAHO-00059321   MURADYAN, ARMINE      12/08/2017   8600 Bluffdale Dr, Sun Valley, CA 91352                   $586.20                               $586.20    Closed   Creek
Mercury   CAHO-00052606   NAGINIS, JOHN & HANAN 12/05/2017   11374 SUNBURST STREET, LAKE VIEW TERRACE, CA 91342       $9,859.69                 $300.00    $10,159.69   Closed   Creek
Mercury   CAHO-00056952   NAJAR, JUAN           12/05/2017   13784 Brussels Ave, Sylmar, CA 91342                     $5,978.82                             $5,978.82   Closed   Creek
Mercury   CAHO-00052872   NALBANDYAN, TATEVIK 12/05/2017     7849 ETHEL AVE, NORTH HOLLYWOOD, CA 91605                $1,359.43     $260.00                 $1,619.43   Closed   Creek
Mercury   CAHO-00053602   NICASSIO, LAWRENCE    12/05/2017   13754 MARCHANT AVENUE, SYLMAR, CA 91342                  $1,432.76                             $1,432.76   Closed   Creek
Mercury   CAHO-00055811   OCEGUERA, MERCEDES 12/05/2017      12658 Cathy St, Sylmar, CA 91342                         $5,740.13     $819.64                 $6,559.77   Closed   Creek
Mercury   CAHO-00053401   OGLUKYAN, ZAVEN       12/05/2017   6564 Matilija Ave, Van Nuys, CA 91401                    $3,677.90    $3,066.18                $9,244.08   Closed   Creek
Mercury   CAHO-00056575   OHANIAN, ARPI         12/05/2017   2616 N Parish Pl, Burbank, CA 91504                      $1,028.75                             $1,028.75   Closed   Creek
Mercury   CAHO-00054925   ONTIVEROS, PABLO      12/05/2017   13701 KISMET AVE, SYLMAR, CA 91342                       $1,834.50                             $1,834.50   Closed   Creek
Mercury   CAHO-00052065   PAIZ, ERICK           12/05/2017   15940 Eccles St, North Hills, CA 91343                    $497.73                               $497.73    Closed   Creek
Mercury   CAHO-00068451   PALMA, ALBERT         12/15/2017   13848 GAVINA AVE, SYLMAR, CA 91342                      $12,216.79                            $13,216.79   Closed   Creek
Mercury   CAHO-00052674   PALMA, GABRIELA       12/05/2017   11759 GLADSTONE AVE, SYLMAR, CA 91342                     $854.42      $520.00                 $1,374.42   Closed   Creek
Mercury   CAHO-00052503   Palmer, Carolyn       12/08/2017   10551 Arnwood Rd, Sylmar, CA 91342                        $639.00      $715.00                 $1,354.00   Closed   Creek
Mercury   CAHO-00052984   PANDURO, MARIA        12/05/2017   13108 FILMORE STREET, PACOIMA, CA 91331                  $1,299.96                             $1,299.96   Closed   Creek
Mercury   CAHO-00052717   Papazian, Vartan      12/05/2017   13273 N. Jacob Lane, Sylmar, CA 91342                    $4,812.34                 $308.08     $6,120.42   Closed   Creek
Mercury   CAHO-00053848   PARADA, RICK          12/06/2017   13448 GLENWOOD DR, SYLMAR, CA 91342                      $1,337.54     $506.25                 $1,843.79   Closed   Creek
Mercury   CAHO-00056142   PATINO, CARLOS        12/05/2017   13950 Nordhoff St, Arleta, CA 91331                      $7,123.97                             $7,123.97   Closed   Creek
Mercury   CAHO-00052327   PETROSYAN, MAREANNA 12/05/2017     8810 Norwich Ave, North Hills, CA 91343                  $1,740.96                             $1,740.96   Closed   Creek
Mercury   CAHO-00059619   PETROSYAN, SUREN      12/08/2017   6918 Bluebell Ave, North Hollywood, CA 91605             $2,638.98                             $2,638.98   Closed   Creek
Mercury   CAHO-00060667   POGOSIAN, AROUSIAK    12/05/2017   8431 GREENBUSH AVE, PANORAMA CITY, CA 91402               $950.00                               $950.00    Closed   Creek
Mercury   CAHO-00053894   Polatian, Sevak       12/06/2017   7849 Saint Clair Ave, North Hollywood, CA 91605           $746.47      $650.00                 $3,896.47   Closed   Creek
Mercury   CAHO-00054275   PRECIADO, EDUARDO     12/05/2017   13893 GARRICK AVE, SYLMAR, CA 91342                      $4,357.04    $1,575.21    $700.00     $6,632.25   Closed   Creek
Mercury   CAHO-00053209   RAMIREZ GARCIA, RENE 12/04/2017    13264 Filmore St, Pacoima, CA 91331                       $575.22      $260.00                 $1,835.22   Closed   Creek
Mercury   CAHO-00052290   RAMIREZ ZEPEDA, CONSUE12/06/2017   12670 GLADSTONE AVE., SYLMAR, CA 91342                   $4,345.61    $4,380.03    $400.20     $9,125.84   Closed   Creek
Mercury   CAHO-00054834   Ramirez, Javier       12/05/2017   10164 Bradley Ave, Pacoima, CA 91331                     $1,034.31                             $1,034.31   Closed   Creek
Mercury   CAHO-00053045   RAMIREZ, JUANA        12/06/2017   13451 Desmond St, Pacoima, CA 91331                       $866.56      $585.00                 $1,451.56   Closed   Creek
Mercury   CAHO-00052076   Ramirez, Monica       12/05/2017   12930 Alexander St, Sylmar, CA 91342                    $28,293.86    $4,516.17   $2,326.92   $35,136.95   Closed   Creek
Mercury   CAHO-00053730   Renteria, Gisset      12/05/2017   13387 Elsie Ln, Sylmar, CA 91342                         $1,343.04                             $1,343.04   Closed   Creek
Mercury   CAHO-00052883   RIOS, ROGELIO         12/07/2017   11541 Welk Ave, Pacoima, CA 91331                        $2,276.41                             $2,276.41   Closed   Creek
Mercury   CAHO-00052827   RIVERA, LUPE          12/05/2017   13640 DYER ST, SYLMAR, CA 91342                          $1,348.56     $130.00                 $1,478.56   Closed   Creek
Mercury   CAHO-00053543   Rivera, Raymond       12/05/2017   10959 Bartee Ave, Mission Hills, CA 91345                $2,986.88                             $2,986.88   Closed   Creek
Mercury   CAHO-00056599   ROBINSON, GENEVA      12/08/2017   12451 GLAMIS, PACOIMA, CA 91331                          $1,858.93                             $1,858.93   Closed   Creek
Mercury   CAHO-00058703   RODRIGUEZ, ABEL       12/08/2017   10174 RINCON AVENUE, PACOIMA, CA 91331                   $1,476.24                             $1,476.24   Closed   Creek
Mercury   CAHO-00053463   RODRIGUEZ, ANA        12/05/2017   13487 HARLEY AVENUE, SYLMAR, CA 91342                     $987.13      $520.00                 $1,507.13   Closed   Creek
Mercury   CAHO-00058839   RODRIGUEZ, ROSA       12/05/2017   12938 Goleta St, Pacoima, CA 91331                       $2,108.92                             $2,108.92   Closed   Creek
Mercury   CAHO-00053738   Rodriguez, Ruben      12/06/2017   7555 Gaynor Ave, Van Nuys, CA 91406                      $1,969.84     $195.00                 $2,164.84   Closed   Creek
Mercury   CAHO-00052829   RODRIGUEZ, VERONICA 12/05/2017     12763 CAMERON AVE, SYLMAR, CA 91342                      $1,066.17     $130.00                 $1,196.17   Closed   Creek
Mercury   CAHO-00055326   ROZNETINSKY, GEORGE 12/05/2017     15826 LARSKPUR STREET #101, SYLMAR, CA 91342             $1,175.61                             $1,175.61   Closed   Creek
Mercury   CAHO-00058022   RUIZ, VELIA           12/05/2017   15686 EL CAJON STREET, SYLMAR, CA 91342                  $1,598.29                             $1,598.29   Closed   Creek
Mercury   CAHO-00052239   RUPENIAN, AIDA        12/05/2017   8077 CHERRYSTONE AVE, PANORAMA CITY, California 91402    $1,554.24     $130.00                 $1,684.24   Closed   Creek
Mercury   CAHO-00052651   SAGE, MATTHEW         12/08/2017   10573 McBroom St, Shadow Hills, California 91040         $2,168.41     $520.00     $321.10     $3,009.51   Closed   Creek
Mercury   CAHO-00053107   SALAZAR, ANGELA       12/05/2017   15121 MONTE ST, SYLMAR, CA 91342                          $229.34                               $229.34    Closed   Creek
Mercury   CAHO-00056138   SAMORA, DONNA         12/05/2017   13460 BORDEN AVE, SYLMAR, CA 91342                       $1,192.22     $351.28                 $1,543.50   Closed   Creek
Mercury   CAHO-00052566   SANCHEZ, ELISETH      12/05/2017   16445 Victory Blvd, Van Nuys, CA 91406                                  $68.24                    $68.24   Closed   Creek
Mercury   CAHO-00053999   SANCHEZ, INGRID       12/05/2017   8932 Valjean Ave, North Hills, CA 91343                  $1,672.18     $260.00                 $1,932.18   Closed   Creek
Mercury   CAHO-00053029   SANCHEZ, JAVIER       12/06/2017   12923 CROWLEY ST, ARLETA, CA 91331                        $525.56      $650.00                 $1,175.56   Closed   Creek
Mercury   CAHO-00053529   SANCHEZ, OLGA         12/05/2017   13701 Eldridge Ave, Sylmar, CA 91342                     $1,217.61                             $1,217.61   Closed   Creek
Mercury   CAHO-00059577   Santana, Roberto      12/08/2017   7831 Satsuma Ave, Sun Valley, CA 91352                    $623.36      $390.00                 $1,013.36   Closed   Creek
Mercury   CAHO-00052822   SANTOS, MARIA         12/05/2017   13170 CUTLER PL, SYLMAR, CA 91342                         $521.78                               $521.78    Closed   Creek
Mercury   CAHO-00052210   SARKISSIAN, ARTHUR    12/05/2017   10144 Sully Dr, Sun Valley, CA 91352                     $1,507.65    $1,874.50                $3,382.15   Closed   Creek
Mercury   CAHO-00052243   Sarne, Monreo         12/06/2017   12101 Van Nuys Blvd., Unit 22, SYLMAR, CA 91342          $6,689.13                             $6,689.13   Closed   Creek
Mercury   CAHO-00052447   SAUER, KOURTNEY       12/05/2017   13158 Mira Mar Dr, Sylmar, CA 91342                     $12,973.60    $5,767.69     $56.35    $18,797.64   Closed   Creek
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Mercury   CAHO-00052289   SCHMERBER, GLORIA      12/05/2017   10167 WEALTHA AVE, SUN VALLEY, CA 91352                       $16,684.02   $20,009.26   $15,610.96   $52,304.24   Closed   Creek
Mercury   CAHO-00053386   Shivnani, Sumit        12/05/2017   9239 Swinton Ave, North Hills, CA 91343                        $4,116.94     $130.00                  $4,246.94   Closed   Creek
Mercury   CAHO-00054135   Silva, Michelle        12/05/2017   9166 Beachy Ave, Arleta, CA 91331                              $5,251.73    $2,645.24                 $7,896.97   Closed   Creek
Mercury   CAHO-00052978   SIMMONS, LB            12/05/2017   11331 SUNBURST ST, LAKE VIEW TERRACE, CA 91342                 $4,053.70     $659.96      $184.80     $4,898.46   Closed   Creek
Mercury   CAHO-00052091   Soibatian, Varthoui    12/05/2017   8018 Crosnoe Ave., Panorama City, CA 91402                     $2,012.78                              $2,012.78   Closed   Creek
Mercury   CAHO-00053165   SOLIS JR, PAUL A.      12/05/2017   10448 Columbus Ave, Mission Hills, CA 91345                    $2,790.41                              $2,790.41   Closed   Creek
Mercury   CAHO-00056135   Soliz, ANTONIO         12/05/2017   13432 Debell St, Arleta, CA 91331                               $426.47                                $426.47    Closed   Creek
Mercury   CAHO-00052093   Sorabian, Zhirair      12/05/2017   7061 Kester Ave., Apt. J., Van Nuys, CA 91405                  $2,381.93     $404.91                  $2,786.84   Closed   Creek
Mercury   CAHO-00052881   SPENCER, CHARLES       12/10/2017   11390 Kagel Canyon St, Sylmar, CA 91342                        $3,368.29     $130.00                  $3,498.29   Closed   Creek
Mercury   CAHO-00052275   SPRINGER, NEIL         12/05/2017   11888 Wheeler Ave, Sylmar, CA 91342                            $7,599.58    $7,089.12                $14,688.70   Closed   Creek
Mercury   CAHO-00053309   SR, MARTIN             12/06/2017   13797 Simshaw Ave, Sylmar, CA 91342                                                                    $998.74    Closed
Mercury   CAHO-00054717   TAKVORYAN, VAHAN       12/05/2017   13967 VALERIO ST, VAN NUYS, CA 91405                           $3,009.96     $130.00                  $3,139.96   Closed   Creek
Mercury   CAHO-00055629   TALAMANTES, WILLIAM 12/05/2017      13220 NORRIS AVENUE, SYLMAR, CA 91342                          $1,639.17     $130.00                  $1,769.17   Closed   Creek
Mercury   CAHO-00054525   TARIN, HILA            12/05/2017   627 GRIFFITH STREET, SAN FERNANDO, CA 91340                    $1,352.46     $130.00                  $1,482.46   Closed   Creek
Mercury   CAHO-00053270   TEJEDA, ANTONIO        12/05/2017   9471 URBANA AVE, ARLETA, CA 91331                              $1,248.41                              $1,248.41   Closed   Creek
Mercury   CAHO-00052494   Teres Villar, Angelica 12/05/2017   15156 Rex Street, Sylmar, CA 91342                              $683.54      $650.00                  $1,333.54   Closed   Creek
Mercury   CAHO-00052171   TERKAZARYAN, RIPSIME 12/05/2017     7732 ALLOTT AVE, PANORAMA CITY, CA 91402                       $1,312.04     $325.00                  $1,637.04   Closed   Creek
Mercury   CAHO-00052727   TERZYAN, HRACH         12/08/2017   8422 KATHERINE AVENUE, PANORAMA CITY, CA 91402                $10,639.00     $780.00                 $11,419.00   Closed   Creek
Mercury   CAHO-00053113   TOROSIAN, STEVE        12/08/2017   6550 MAMMOTH AVENUE, VALLEY GLEN, CA 91401                      $477.20                                $477.20    Closed   Creek
Mercury   CAHO-00052923   TORRES, EULALIO        12/05/2017   12743 Filmore St, Pacoima, California 91331                    $1,989.38     $274.45                  $2,263.83   Closed   Creek
Mercury   CAHO-00068981   TORRES, VICTOR         12/23/2017   7729 AGNES AVE, NORTH HOLLYWOOD, CA 91605                                                            $11,500.00   Closed   Creek
Mercury   CAHO-00053467   TRIEU, SUNNY           12/05/2017   13601 Mindora Ave, Sylmar, CA 91342                             $375.38      $650.00                  $1,025.38   Closed   Creek
Mercury   CAHO-00053039   TSOTSIKYAN, GEVORG     12/07/2017   14741 HARTLAND STREET, VAN NUYS, CA 91405                       $234.35      $846.00                  $3,580.35   Closed   Creek
Mercury   CAHO-00061274   UMAYAM, THOMAS         12/08/2017   2049 N KENWOOD ST, BURBANK, CA 91505                            $816.35                                $816.35    Closed   Creek
Mercury   CAHO-00057428   VALERIO, ALVIN         12/06/2017   11169 YOLANDA AVENUE, NORTHRIDGE, CA 91326                      $937.84                               $1,937.84   Closed   Creek
Mercury   CAHO-00057039   VALLES, OSCAR          12/05/2017   13249 Mercer St, Pacoima, CA 91331                              $533.65                                $533.65    Closed   Creek
Mercury   CAHO-00054063   VARGAS, LUIS           12/05/2017   10900 JAMIE AVENUE, PACOIMA, CA 91331                          $4,357.15     $810.00                  $5,167.15   Closed   Creek
Mercury   CAHO-00053924   VASQUEZ, RENEE         12/09/2017   777 N WORKMAN ST, SAN FERNANDO, CA 91340                       $3,936.80     $130.00                  $4,066.80   Closed   Creek
Mercury   CAHO-00052214   VAZQUEZ, FELIX         12/05/2017   13752 Eldridge Ave, Sylmar, CA 91342                          $14,331.12     $310.00                 $14,641.12   Closed   Creek
Mercury   CAHO-00054406   VON HEIDEGGER, HANNAH12/05/2017     11700 LITTLE TUJUNGA CANYON RD, Lake View Terrace, CA 91342                $11,265.06                $11,265.06   Closed   Creek
Mercury   CAHO-00052445   Walls, Terrance        12/05/2017   12168 Mercer St, Sylmar, CA 91342                             $11,803.57     $347.62      $608.57    $12,759.76   Closed   Creek
Mercury   CAHO-00053280   WILLIAMS, DAMON        12/05/2017   11711 Gain St, Sylmar, CA 91342                                $1,487.94     $130.00                  $1,617.94   Closed   Creek
Mercury   CAHO-00052652   YARALYAN, LILIK        12/05/2017   13961 LEADWELL ST, VAN NUYS, CA 91405                          $1,483.76                              $1,483.76   Closed   Creek
Mercury   CAHO-00052104   Yegiazaryan , Arutyun  12/05/2017   8118 Mammoth Ave, Panorama City, CA 91402                      $1,290.56                              $1,290.56   Closed   Creek
Mercury   CAHO-00057476   ZADOORIAN, VARDAN      12/05/2017   7913 WHITSETT AVE, NORTH HOLLYWOOD, CA 91605                   $1,900.54                              $1,900.54   Closed   Creek
Mercury   CAHO-00053594   Zepeda, Margarita      12/05/2017   14361 Germain St, Mission Hills, CA 91345                       $901.29      $195.00                  $1,096.29   Closed   Creek
Sentry    66F341834       VINCENT DIPIETRO, FOOTH12/05/2017   10456 Foothill Blvd., Lake View Terrace, CA 91342                            $658.85     $1,903.06    $2,561.91   Closed   Creek
